                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

United States of America,

                       Plaintiff,
           v.                                       Case No. 12-CR-69-01-PB

Nazar Lopushansky,

                       Defendant.


                                   SATISFACTION OF JUDGMENT

       The monetary penalties imposed on May 21, 2013, in the above-captioned action, have

been satisfied and paid in full.

                                                         JOHN J. FARLEY
                                                         Acting United States Attorney


                                                         By: /s/ Michael T. McCormack
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